Case 6:24-cv-01573-CEM-RMN       Document 101    Filed 01/21/25   Page 1 of 11 PageID 497




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION


   PENGUIN RANDOM HOUSE
   LLC, HACHETTE BOOK
   GROUP, INC., HARPERCOLLINS
   PUBLISHERS LLC,
   MACMILLAN PUBLISHING
   GROUP, LLC, SIMON &
   SCHUSTER, LLC,
   SOURCEBOOKS LLC, THE
   AUTHORS GUILD, JULIA
   ALVAREZ, JOHN GREEN,
   LAURIE HALSE ANDERSON,
   JODI PICOULT, ANGIE
   THOMAS, HEIDI KELLOGG and
   JUDITH ANNE HAYES,

                   Plaintiffs,

   v.                                           Case No. 6:24-cv-1573-CEM-RMN

   BEN GIBSON, RYAN PETTY,
   ESTHER BYRD, GRAZIE P
   CHRISTIE, KELLY GARCIA,
   MARYLYNN MAGAR, TERESA
   JACOBS, ANGIE GALLO,
   MARIA SALAMANCA, ALICIA
   FARRANT, PAM GOULD, VICKI-
   ELAINE FELDER, KAREN
   CASTOR DENTEL, MELISSA
   BYRD, JAMIE HAYNES, ANITA
   BURNETTE, RUBEN COLON,
   CARL PERSIS, and JESSIE
   THOMPSON,

                   Defendants.



                                      Page 1 of 11
Case 6:24-cv-01573-CEM-RMN       Document 101      Filed 01/21/25   Page 2 of 11 PageID 498




                 CASE MANAGEMENT AND SCHEDULING ORDER

          THIS CAUSE is before the Court on the Parties’ Amended Case

   Management Report (Doc. 75). Pursuant to Federal Rule of Civil Procedure 16(b)

   and Local Rule 3.02(c), it is ORDERED that counsel and all parties, including pro

   se parties, shall comply with the following deadlines and instructions. The deadlines

   herein shall not be extended without Court approval.

    Action or Event                            Deadline
    Mandatory initial disclosures              N/A
    Motion to join a party or amend            N/A
    pleadings
    Plaintiff’s expert report disclosure       N/A
    Defendant’s expert report disclosure       N/A
    Rebuttal expert report disclosure          N/A
    Completion of discovery and motion to      FEBRUARY 18, 2025
    compel discovery
    Dispositive and Daubert motions            MARCH 4, 2025
    Mediation                                  N/A
    Joint pretrial meeting                     SEPTEMBER 26, 2025
    Filing of the joint final pretrial         OCTOBER 6, 2025
    statement; any other motions, including
    motion in limine; jointly proposed jury
    instructions and jointly proposed
    verdict form
    Trial Status Conference                    OCTOBER 16, 2025 at 10:00 AM
                                               Courtroom 5B
    Trial Term                                 NOVEMBER 2025




                                        Page 2 of 11
Case 6:24-cv-01573-CEM-RMN          Document 101       Filed 01/21/25   Page 3 of 11 PageID 499




                                       I.       DISCOVERY

         The parties shall not file on the docket discovery materials, including copies

   of written interrogatories, notices of taking depositions, or requests for production

   or admissions, except as necessary to the presentation and consideration of a motion.

         Each party shall timely serve discovery requests so that the Rules allow for a

   response prior to the discovery deadline.

         The parties may reach their own agreement regarding the designation of

   materials as “confidential” without a Court order. The Court discourages

   unnecessary stipulated motions for a protective order. However, filing under seal is

   not authorized by agreement or stipulation. See M.D. Fla. R. 1.11.

                              II.     EXTENSION OF DEADLINES

         The parties may not extend the deadlines herein by agreement or stipulation

   and deadlines are not tolled pending the Court’s ruling on a motion.

         All motions for extension of deadlines must be filed promptly and must state

   good cause for the extension. A motion for extension of time should not be filed on

   the day of the deadline.

         Motions to extend the dispositive motions deadline or to continue the trial date

   are generally denied. The Court will grant an exception only when necessary to

   prevent manifest injustice. Further, extension of the dispositive motion deadline will




                                            Page 3 of 11
Case 6:24-cv-01573-CEM-RMN        Document 101     Filed 01/21/25   Page 4 of 11 PageID 500




   generally result in a continuance of the trial term to allow the Court sufficient time

   to resolve the dispositive motion.

         Motions for an extension of the other deadlines set forth herein are disfavored.

   Failure to complete discovery within the time established by this Order does not

   constitute good cause for an extension of the deadline. The filing of a motion for

   extension of time does not toll the time for compliance with deadlines.

                    III.    EMERGENCY AND TIME-SENSITIVE MOTIONS

         Counsel and parties are advised that the designation of “emergency” will

   cause a judge to abandon other pending matters in order to immediately address the

   emergency. The Court will sanction any counsel or party who improperly designates

   a motion as an emergency. It is not an emergency when counsel or parties have

   delayed compliance until the eve of the deadline.

         Promptly after filing an emergency or time-sensitive motion, the filing

   counsel or pro se party shall call the Clerk’s office and request that they notify the

   presiding judge’s chambers.

                           IV.   MOTIONS FOR SUMMARY JUDGMENT

         The briefing schedule for Responses and Replies to motions for summary

   judgment are governed by Local Rule 3.01.




                                        Page 4 of 11
Case 6:24-cv-01573-CEM-RMN        Document 101      Filed 01/21/25    Page 5 of 11 PageID 501




         Both the movant and the party opposing summary judgment shall provide

   pinpoint citations to the record; general references to exhibits or documents are

   insufficient.

                                       V.     MEDIATION

         The parties have not yet designated a mediator in this case. The parties may

   jointly stipulate to the substitution of a different mediator without Court approval,

   but mediation must still take place prior to the deadline.

         Once a mediation date is agreed upon, the parties shall file a notice advising

   the Court of the same.

         At least two days prior to the mediation—or longer if requested by the

   mediator—the parties shall provide to the mediator a written summary of the facts

   and issues of the case and any other information requested by the mediator. Failure

   to do so may result in the imposition of sanctions.

         The following individuals must attend mediation: each attorney designated as

   lead trial counsel; each party, or a party’s surrogate with full authority to settle that

   is satisfactory to the mediator; and any necessary insurance carrier representative.

   Only the mediator may declare an impasse or end the mediation. Unexcused absence

   or departure from mediation, or a failure to participate in good faith, is sanctionable

   conduct.




                                         Page 5 of 11
Case 6:24-cv-01573-CEM-RMN        Document 101      Filed 01/21/25   Page 6 of 11 PageID 502




         Within seven days after mediation, the mediator must file a report, noting the

   result of mediation and whether all required persons attended. If the mediator fails

   to do so, the parties shall file such a notice within fourteen days after mediation.

         The substance of any mediation is confidential and no party, lawyer, or other

   participant is bound by, may record, or without the Judge’s approval may disclose

   any event, including any statement confirming or denying a fact—except

   settlement—that occurs during the mediation.

                                     VI.    SETTLEMENT

         After agreeing to resolve all or part of a civil action, the parties must

   immediately file a notice in accordance with Local Rule 3.09(a).

         Regardless of the status of settlement negotiations, the parties shall appear for

   all scheduled hearings and comply with all deadlines absent a Court order or the

   filing of a proper Notice or Stipulation of Dismissal under Federal Rule of Civil

   Procedure 41.

         If the parties fail to notify the Court of a settlement prior to 11:30 AM on the

   last business day before the date scheduled for jury selection, the parties will be

   jointly assessed jury costs.

                           VII. PRETRIAL MEETING AND FILINGS

         The parties’ pretrial meeting may occur in person, by telephone, or by video

   conference. Conference solely by e-mail or text message is insufficient. All parties



                                         Page 6 of 11
Case 6:24-cv-01573-CEM-RMN        Document 101      Filed 01/21/25    Page 7 of 11 PageID 503




   are responsible for participating in the pretrial meeting and filing a Joint Final

   Pretrial Statement, but Plaintiff’s counsel, or Plaintiff if proceeding pro se, has the

   primary responsibility to coordinate the meeting and filing.

          The parties must fully comply with Local Rule 3.06. Failure to do so may

   result in the imposition of sanctions, including but not limited to striking of the Final

   Pretrial Statement or pleadings.

          Upon the filing of the Joint Final Pretrial Statement, the pleadings are deemed

   to have merged into the Joint Final Pretrial Statement, which will control the course

   of the trial.

          Absent good cause, the Court will not admit into evidence any exhibit and

   will not permit the testimony of any witness that were not presented to opposing

   counsel or pro se parties at the parties’ pretrial conference. Also absent good cause,

   the Court will not permit the use of any demonstrative exhibits that were not

   presented to opposing counsel or pro se parties at least seven days prior to trial.

          Photographs of non-documentary evidence and reductions of large

   documentary exhibits to be substituted for original exhibits after conclusion of the

   trial must be presented to opposing counsel for examination at the parties’ pretrial

   conference. Objections to such substitution exhibits must be listed in the Joint Final

   Pretrial Statement.




                                         Page 7 of 11
Case 6:24-cv-01573-CEM-RMN       Document 101      Filed 01/21/25   Page 8 of 11 PageID 504




         The parties must attach an exhibit list to the Joint Final Pretrial Statement on

   the form provided on Judge Mendoza’s page on the Middle District of Florida

   website. The exhibit list must include each specific objection—“all objections

   reserved” or similar language will not suffice. Absent good cause, objections not

   made with specificity are waived.

         For jury trials, the parties must submit a single set of jointly-proposed jury

   instructions and a jointly-proposed verdict form. Within the jointly-proposed

   filings, the parties may submit contested or alternate instructions. Any such

   instructions must identify the requesting party and provide citation to any applicable

   legal authority along with a summary of the opposing party’s objection beneath the

   instructions. The parties must also e-mail a copy of the proposed jury instructions

   and verdict form in Microsoft Word format to the following e-mail address:

   chambers_flmd_mendoza@flmd.uscourts.gov.

         The parties may attach to the Joint Final Pretrial Statement a single list of

   jointly-proposed questions for the Court to ask the venire during voir dire. Failure to

   do so will be construed as a waiver of the parties’ ability to submit such questions.

         Counsel or pro se parties may contact the trial judge’s courtroom deputy clerk

   to discuss any concerns regarding exhibits and equipment to be used during trial.

   Subject to availability, they may schedule a time to tour the courtroom and test

   courtroom equipment with the courtroom deputy clerk.



                                        Page 8 of 11
Case 6:24-cv-01573-CEM-RMN         Document 101      Filed 01/21/25    Page 9 of 11 PageID 505




                                VIII. TRIAL STATUS CONFERENCE

          At the trial status conference, the Court will set the case for a date-certain trial

   and will schedule the final pretrial conference. No substantive matters will be heard

   at this time.

          Trials that cannot be set for trial during the scheduled trial term will be carried

   over to the following month on a trailing trial calendar, and issued subpoenas will

   continue in force. Counsel, parties, and witnesses shall be available on twenty-four

   hours’ notice for trial after the beginning of the trial term.

          For scheduling purposes, a different District Judge—including a visiting

   District Judge—may try this case. Additionally, for the same reasons, trial may be

   set in any division of the Middle District of Florida.

                           IX     FINAL PRETRIAL CONFERENCE

          All parties and counsel must be prepared and authorized to accomplish the

   purposes set forth in Federal Rule of Civil Procedure 16(c). The Court will typically

   rule on any pending motions in limine at the Final Pretrial Conference and will

   address any other matters to facilitate the just and speedy disposition of the case.

          The parties must prepare for submission and consideration at the final pretrial

   conference a marked copy of any objected-to deposition designations.




                                          Page 9 of 11
Case 6:24-cv-01573-CEM-RMN       Document 101            Filed 01/21/25   Page 10 of 11 PageID
                                        506



                                          X.     TRIAL

       Trial will start promptly at 8:30 AM on each day unless expressly directed by

 the Court otherwise.

       On the first day of trial, the parties shall provide to the Court and the

 Courtroom Deputy Clerk a bench notebook containing marked copies of all exhibits.

       The Court will conduct voir dire. Counsel and parties will not be permitted to

 ask questions directly to the venire.

     XI.   CONSENT TO PROCEED BEFORE THE MAGISTRATE JUDGE

       Given this Court’s heavy caseload, proceeding before a Magistrate Judge can

 offer the parties a more expeditious resolution of their case and allow them to

 proceed to trial on a date certain without the possibility of being continued due to

 criminal proceedings, which take precedence over civil cases. The parties can

 consent to proceed before a Magistrate Judge for all proceedings or for a specified

 motion at any time prior to the start of trial. Consent must be unanimous, but no

 party will face an adverse consequence for withholding consent. Consent forms can

 be found on Judge Mendoza’s page on the Middle District of Florida website.

       DONE and ORDERED in Orlando, Florida on January 21, 2025.




                                         Page 10 of 11
Case 6:24-cv-01573-CEM-RMN   Document 101        Filed 01/21/25   Page 11 of 11 PageID
                                    507




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




                                 Page 11 of 11
